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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

   In re:                                         §
                                                  §   Chapter 11 (Subchapter V)
   SCOTT VINCENT VAN DYKE                         §
                                                  §   Case No.: 21-60052
                 Debtor.                          §


              AGREED ORDER ON MOTION FOR RELIEF FROM STAY
                            (This Order Resolves Docket No. 37)

       On November 9, 2021, a hearing was held on the Motion for Relief From Stay (the

“Motion”) filed by Michael L. Noel (“Dr. Noel”), seeking to modify the automatic stay in

order to adjudicate a claim against the Debtor, Scott Van Dyke, in a pending state court

action. The respective counsel for Dr. Noel and the Debtor announced the following

agreed stipulation:

   1. Dr. Noel is entitled to an allowed claim in the amount of $998,431.14 on account
       of the $500,000 promissory note made the basis of this Motion, which amount
       represents all unpaid principal, interest and attorneys’ fees owed to Dr. Noel
       pursuant to that note;
   2. This stipulated allowed claim is in addition to all of Dr. Noel’s other claims that
       may be allowed, in accordance with (i) the Debtor’s Bankruptcy Schedules, (ii)
       Dr. Noel’s Proof of Claim, and/or (iii) further orders of this Court.
   3. To the extent that there are objections filed to any of Dr. Noel’s other claims, the
       Debtor and Dr. Noel agree to resolve those objections in this Court.




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             It is hereby ORDERED that, in light of the foregoing stipulation, the Motion is moot,

        and the requested relief is denied.



        Signed: November ___, 2021.
                                                           Christopher Lopez
                                                           Unites States Bankruptcy Judge




        Approved:


        /s/ David S. Elder                               /s/ Susan Tran Adams
        David S. Elder                                   Susan Tran Adams
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        Counsel for Michael L. Noel                      Counsel for Scott Van Dyke




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